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                                 UNITED STATES DISTRICT COURT
 7
                                        DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                   )
10                                               )
                   Plaintiff,                    )         2:09-cr-132-RLH-RJJ
11                                               )
     vs.                                         )
12                                               )
     BRIAN DVORAK,                               )                ORDER
13   JAMES KINNEY,                               )
     JEFFREY MITCHELL,                           )
14                                               )
                   Defendant,                    )
15                                               )
16          This matter is before the Court on the following motions:
17          1.     Dvorak’s Joinder (#132);
18          2.     Defendant Kinney’s Motion for Joinder (#133); and,
19          3.     Defendant Jeffrey Mitchell’s Joinder (#134).
20          The Court having reviewed the Joinder (#132, #133, and #134) and good cause appearing
21   therefore,
22          IT IS HEREBY ORDERED that Dvorak’s Joinder (#132); Defendant Kinney’s Motion
23   for Joinder (#133); and, Defendant Jeffrey Mitchell’s Joinder (#134) are GRANTED.
24          DATED this 6th      day of April, 2011.
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                                                 ROBERT J. JOHNSTON
27                                               United States Magistrate Judge
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